                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:11-00194
                                             )        JUDGE CAMPBELL
STERLING RIVERS, et al.                      )


                                             ORDER


       As stated on the record on September 4, 2013, witnesses James Lowe and Robert Moore

shall be at court for trial on September 5, 2013 at 8:00 a.m. Defendant Rivers represented these

witnesses have been subpoenaed to testify at trial.

       The court has ordered the appointment of counsel for these witnesses and counsel shall

also be present on September 5, 2013 at 8:00 a.m.

       IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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